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        Exhibit 45
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                           ANNUAL REPORT 2011
                               including the Annual Financial Report
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                             Société anonyme with a share capital of €223,759,083
                                    Registered Office: 1-5, rue Jeanne d’Arc
                                           92130 Issy-Les-Moulineaux
                         Nanterre Register of Commerce and companies No. 333 773 174




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This Registration document (Document de Référence) was filed with the Autorité des Marchés Financiers (AMF) on
March 27, 2012 in accordance with Article 212-13 of the AMF General Regulations. It may be used in connection with
a financial transaction provided it is accompanied by a transaction note (note d’opération) approved by the AMF.
This document was prepared by the issuer and is the responsibility of the signatories thereof.



This registration document can be consulted on the website of the AMF (French version only) (www.amf-france.org)
                           and on the website of Technicolor (www.technicolor.com).




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        8 - FINANCIAL STATEMENTS
            Notes to the Parent Company Financial Statements




      Guarantees granted by subsidiaries and security interests                   Cash pooling accounts pledged
      granted to secure the Reinstated Debt                                       Pursuant to six different Cash Pooling Pledge Agreements, the cash
      A security package consisting of share pledges, pledges of certain          pooling accounts of Technicolor SA and Technicolor USA, Inc were
      receivables under material customer contracts, pledges of material          pledged. The Cash Pooling Agreements relate to the domestic and
      intra-group loans and pledges of material cash-pooling accounts             international centralization of Group Treasury, a bilateral target
      was put in place to secure the obligations of the borrower’s and each       balancing agreement, an automatic dollar transfer agreement, a North
      guarantor’s obligations under the Credit Agreement and Note Purchase        American target balancing agreement for multiple legal entities and a
      Agreement. These assets will remain pledged until the final payment of      domestic UK cash concentration daily sweep arrangement.
      all the amounts due by the Group to its creditors.
                                                                                  Intragroup loans pledged
      To secure its obligations under the Reinstated Debt, certain subsidiaries
      of the Company have agreed, severally and not jointly, irrevocably and      Pursuant to an Intragroup Loans Receivables Pledge Agreement,
      unconditionally to guarantee the Company’s and each other guarantor’s       Intragroup loans receivables were pledged from (i) Technicolor
      obligations of payment and performance under the Reinstated Debt.           Trademark Management, (ii) Technicolor Europe Ltd., (iii)
      All material group Members as defined in the Credit Agreement are           Technicolor Videocassette Holdings (UK) Limited and (iv) Technicolor
      required to provide such guarantee. In addition, the guarantor coverage     Entertainment Services Spain, SA.
      must represent at least 90% of Covenant Group EBITDA and/or 70%
      of consolidated assets and/or 50% of consolidated revenue.
                                                                                  NOTE 19 CONTINGENCIES
      New material group Members and additional guarantors must accede
                                                                                  n On November 28, 2007, Technicolor USA, Inc. (US) (formerly
      as guarantors in order to maintain the guarantor coverage on the basis        Thomson, Inc.) received a subpoena issued on behalf of the Antitrust
      of the annual audited accounts for the year ended December 31, 2010           Division of the U.S. Department of Justice (“DOJ”) investigating
      and each financial year-end thereafter.                                       alleged anticompetitive conduct in the Cathode Ray Tubes (“CRT”)
                                                                                    industry, including Color Picture Tubes (“CPT”) and Color Display
      As of the closing date of the Reinstated Debt, the guarantors under
                                                                                    Tubes (“CDT”) businesses.
      the Credit Agreement and the Note Purchase Agreement comprised
      18 entities mainly located in UK, France and USA. In 2011, 8 additional       In addition, class action law suits asserting private antitrust claims
      subsidiaries have granted guarantees to secure the Reinstated Debt.           were filed in early 2008 in the United States that originally named
                                                                                    Thomson and others as defendants, although Thomson/Technicolor
                                                                                    was dropped as a named defendant when amended complaints were
      Shares of subsidiaries pledged
                                                                                    filed in the spring of 2009.
      Technicolor SA and the main guarantors, which include Technicolor
      International SAS (formerly Thomson Multimedia Sales International            On January 9, 2008, Thomson/Technicolor received a request
      SAS), Technicolor Delivery Technologies SAS, Technicolor Inc. and             under art 18 (2) of Council Regulation n°1/2003 from the European
      Technicolor USA, Inc. (formerly Thomson Inc.) have pledged the shares         Commission (the “EC”) also relating to the CRT industry. Thomson/
      of 38 of their subsidiaries to secure part of the Reinstated Debt.            Technicolor received three further requests for information from the
                                                                                    EC on January 16, 2009, January 19, 2009, and September 15, 2009
                                                                                    respectively.
      Receivables from material contracts pledged
                                                                                    Thomson/Technicolor sold its CPT business in 2005 and never had
      Receivables of Thomson Licensing SAS were pledged under a Patent
                                                                                    activity in the CDT business. The Company has taken measures it
      Licensing Agreement dated December 23, 2009 with Koninklijke Philips
                                                                                    considers appropriate to investigate the background to, and respond
      Electronics N.V.
                                                                                    to, the subpoena and the EC requests.




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  On November 25, 2009, Thomson/Technicolor received a Statement             n Appeals have been brought before the Juge-Commissaire of the
  of Objections (“SO”) from the European Commission. The SO is an              Commercial Court of Nanterre by certain creditors who contest the
  intermediate step in the EC’s investigation and, therefore, is not in        treatment of their claims by Technicolor’s Mandataires Judiciaires.
  the nature of a final decision by the EC.
                                                                               One of these appeals concerns Banco Finantia, a Portuguese bank,
  On March 3, 2010, Thomson/Technicolor filed its written response to          whose claim in the amount of €9.9 million was contested by the
  the “SO”. On May 26 and 27, 2010, Thomson/Technicolor attended               Mandataires Judiciaires due to a declaration outside of the legal time
  an Oral Hearing together with the other parties and the European             limit. Indeed, Banco Finantia acquired such claim from the French
  Commission. Thomson/Technicolor stated that it played a minor role           branch of Bank of America, who held the claim at the opening of the
  in the alleged anticompetitive conduct. Thomson/Technicolor also             Sauvegarde proceeding, and who did not declare the claim prior to the
  informed the European Commission about its financial situation and           transfer to Banco Finantia. Banco Finantia declared its claim on the
  continues to cooperate closely with the European Commission. The             last day of the 4-month deadline applicable to foreign creditors under
  EC should render its decision in 2012, but the Company considers             Article R. 622-24 of the French Commercial Code. Technicolor and
  that the timetable for the remainder of this proceeding cannot be            its Mandataires Judiciaires consider that, as this claim was held by a
  accurately determined.                                                       French creditor on the date the Sauvegarde proceeding was opened
                                                                               (the French branch of Bank of America), it should have been declared
  On April 29, 2010 Technicolor’s Brazilian affiliate received notice from
                                                                               within the two-month deadline applicable to French creditors rather
  the Brazilian Ministry of Justice indicating Brazilian authorities are
                                                                               than the four-month deadline applicable to foreign creditors.
  initiating an investigation of possible cartel activity within the CRT
  industry in Brazil.                                                          On February 22, 2011, the Juge-Commissaire rendered a decision in
                                                                               favor of Banco Finantia, holding that Banco Finantia benefited from
  The Board of Directors has conducted a thorough examination of
                                                                               the four-month deadline within which to file a claim. Technicolor has
  the risk associated with these proceedings and has determined that
                                                                               appealed against this decision.
  at this stage there are too many uncertainties to assess the extent
  of any liability that Technicolor may incur in consequence of these          The case will be defended in the Versailles Court of appeal at the
  investigations. Given these conditions, the criteria for establishing a      end of March 2012 and a decision is expected at the beginning of
  reserve are not satisfied.                                                   the second half of 2012.
n On February 17, 2010, the Nanterre commercial court approved the
  Sauvegarde Plan which is now binding on all of Company’s creditors.        NOTE 20 MANAGEMENT
  An appeal against the decision of the Nanterre commercial court was
                                                                                     COMPENSATION
  brought by certain holders of Titres Super Subordonnés (“TSS”) in
  the Versailles Court of appeal. As no temporary stay of the Nanterre       Total compensation paid to Board Members of the Company for the
  decision was filed, Technicolor implemented the Sauvegarde Plan in         2011 financial year amounted to €635,000. The amounts due to non-
  May 2010. On November 18, 2010, the Versailles Court of appeal             resident for French tax purposes are subject to a withholding tax.
  dismissed the claims of the TSS holders and confirmed the validity
  of Technicolor’s Sauvegarde Plan. The holders of TSS have appealed         Compensation expenses paid to CEO of Technicolor SA amount to
  on February 14, 2011 to the Cour de cassation (pourvoi en cassation)       € 1,674,020 in 2011.
  against the decision of the Versailles Court of appeal. This appeal was
  rejected by the Cour de cassation on February 21, 2012.                    The Company has no specific retirement benefits program for its
                                                                             Directors.
  Any risk related to the termination of the Sauvegarde Plan, the capital
  markets transactions which implemented the Sauvegarde Plan in
  May 2010 and the issuance of the new shares issued in December 2010
  and December 2011 for the redemption of the NRS and the DPN is
  now eliminated.




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